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               1               Cox sought information regarding historical versions

               2    of the Rightscorp source code that were in place between

               3    February of 2012 and November of 2014.               Those versions of

               4    Rightscorp's source code were not saved by Rightscorp.

               5    Rightscorp was required to save those earlier versions because

               6    it believed that litigation was likely, and the operation and

               7    the accuracy of Rightscorp's system is material evidence.                          You

               8    may, but are not required to, consider the absence of earlier

               9    versions of that code in considering the issue of infringement.

              10               BMG sought Cox records identifying the Cox

              11    subscribers who had been assigned the IP addresses identified

              12    by Rightscorp.     Cox did not save that information after this

              13    lawsuit was filed in November of 2014.               You may, but are not

              14    required to, consider Cox's failure to preserve this material

              15    evidence that would have allowed the parties to identify Cox

              16    customers who were assigned specific IP addresses.

              17               I am sending the exhibits that you have received in

              18    evidence during the trial to you after you retire for

              19    deliberations.     And there also will be an index of how those

              20    exhibits were sponsored by different witnesses, or were

              21    self-authenticating, to assist you in going through the

              22    evidence itself.

              23               A copyright is the exclusive right to copy.                       The

              24    owner of the copyright has the exclusive right to reproduce the

              25    copyrighted work, prepare derivative works based upon the




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               1    copyrighted work, distribute copies or phonorecords of the

               2    copyrighted work to the public by sale or other transfer of

               3    ownership, or by rental, lease, or lending.

               4               It has the right to perform publicly a copyrighted

               5    literary work, musical work, dramatic work, choreographic work,

               6    pantomime work, or motion picture; display publicly a

               7    copyrighted literary work, music work, dramatic work,

               8    choreographic work, pantomime work, pictorial work, graphic

               9    work, sculptural work, or the individual images of a motion

              10    picture.

              11               The term "owner" includes the author of the work, an

              12    assignee, an exclusive licensee.            This case involves one kind

              13    of authorship, namely musical compositions, which include music

              14    and lyrics.

              15               In this case BMG contends that Cox is contributorily

              16    and vicariously liable for the infringement of 1,397 BMG

              17    copyrighted musical works by users of Cox's Internet service.

              18               BMG has already established that it is the owner of

              19    the 1,397 musical composition works at issue in this case.                          And

              20    BMG has also established that the copyright in each of these

              21    works is valid.

              22               In order to prove contributory or vicarious copyright

              23    infringement, BMG first must establish by a preponderance of

              24    the evidence that users of Cox's Internet service used that

              25    service to infringe BMG's copyrighted works.                   BMG is not




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               1    required to prove the specific identities of the infringing

               2    users.

               3               A copyright owner's exclusive right to distribute,

               4    reproduce, and copy its copyrighted work is infringed by the

               5    downloading or uploading of the copyrighted work without

               6    authorization.

               7               If you find that users of Cox's Internet service

               8    uploaded or downloaded BMG's copyrighted works, then BMG has

               9    established that users of Cox's Internet service have infringed

              10    BMG's copyrighted works.

              11               A copyright may be infringed by contributory

              12    infringing.     With certain exceptions, a person is liable for

              13    copyright infringement by another if the person knows or should

              14    have known of the infringing activity and induces, causes, or

              15    materially contributes to the activity.

              16               Plaintiff has the burden of proving each of the

              17    following by a preponderance of the evidence.                   First, that

              18    there was direct infringement of BMG's copyrighted works by

              19    users of Cox's Internet service.

              20               And second, that Cox knew or should have known of

              21    such infringing activity.

              22               And third, that Cox induced, caused, or materially

              23    contributed to such infringing activity.

              24               In copyright law, willful blindness is considered to

              25    be knowledge.    Cox would be found to have acted with willful




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               1    blindness if it was aware of a high probability that Cox users

               2    were infringing BMG's copyrights but consciously avoided

               3    confirming that fact.

               4                 A copyright may also be infringed by vicariously

               5    infringing.    A person is liable for copyright infringement by

               6    another if the person has a financial interest in the right and

               7    ability to supervise the infringing activity, whether or not

               8    the person knew of the infringement.

               9                 In order to prove vicarious copyright infringement,

              10    BMG has the burden of proving each of the following by a

              11    preponderance of the evidence.           First, that there was direct

              12    infringement of BMG's copyrighted works by users of Cox's

              13    Internet service.

              14                 Second, that Cox had a direct financial interest in

              15    such infringing activity.

              16                 And third, that Cox had the right and ability to

              17    supervise such infringing activity.

              18                 Rightscorp is BMG's agent.           Any act or omission of

              19    Rightscorp within the scope of Rightscorp's authority granted

              20    by BMG is considered to be an act or omission by BMG.

              21                 The fact that I am instructing you as to the proper

              22    measure of damages should not be considered as indicating any

              23    view of mine as to which party is entitled to your verdict in

              24    this case.    Instructions as to the measure of damages are given

              25    for your guidance only in the event that you should find in




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               1    favor of the plaintiff from a preponderance of the evidence in

               2    the case in accordance with the other instructions.

               3                 If you find that Cox is liable for contributory

               4    infringement, or if you find Cox is liable for vicarious

               5    infringement, then you should consider the amount of money to

               6    award BMG.

               7                 If you find that Cox is neither liable for

               8    contributory or vicarious infringement, you should not consider

               9    this issue.

              10                 BMG seeks an award of statutory damages under the

              11    Copyright Act.    Statutory damages are damages that are

              12    established by Congress in the Copyright Act because actual

              13    damages in copyright cases are often difficult to establish

              14    with precision.    The purposes are to compensate the copyright

              15    owner, penalize the infringer, and deter future copyright law

              16    violations.

              17                 The amount awarded must be between 750 and $30,000

              18    for each copyrighted work that you found to be infringed.                          If

              19    BMG proves that Cox acted willfully in contributorily or

              20    vicariously infringing BMG's copyrights, you may, but are not

              21    required to, increase the statutory damage award to a sum as

              22    high as $150,000 per copyrighted work.

              23                 You should award as statutory damages an amount that

              24    you find to be fair under the circumstances.                   In determining

              25    the appropriate amount to award, you may consider the following




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               1    factors:   The profits that Cox earned because of the

               2    infringement; the expenses Cox saved because of the

               3    infringement; the revenues that BMG lost because of the

               4    infringement; the difficulty of proving BMG's damages; the

               5    circumstances of the infringement; whether Cox acted willfully

               6    or intentionally in contributorily or vicariously infringing

               7    BMG's copyrights; deterrence of future infringement; and the

               8    amount of harm, in the form of monetary loss, that BMG could

               9    reasonably have avoided but for the failure to mitigate

              10    damages, if you find that BMG did fail to mitigate.

              11               You should award statutory damages whether or not

              12    there is evidence of the actual damage suffered by BMG, and

              13    your statutory damage award need not be based on the actual

              14    damages suffered by BMG.

              15               Cox's contributory or vicarious infringement is

              16    considered willful if BMG proves by a preponderance of the

              17    evidence that Cox had knowledge that its subscribers' actions

              18    constituted infringement of BMG's copyrights, acted with

              19    reckless disregard for the infringement of BMG's copyrights, or

              20    was willfully blind to the infringement of BMG's copyrights.

              21               In this case, Cox asserts the affirmative defense of

              22    failure to mitigate damages.          Cox must prove each element of

              23    this defense by a preponderance of the evidence.

              24               Plaintiff has a duty to use reasonable efforts to

              25    mitigate damages.     To "mitigate" means to avoid or reduce




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               1    damages.

               2                 The defendant has the burden of proving by a

               3    preponderance of the evidence, one, that the plaintiff, BMG,

               4    failed to use reasonable efforts to mitigate damages; and, two,

               5    the amount by which damages would have been mitigated.

               6                 You must follow these rules while deliberating and

               7    returning your verdict.       First, when you go to the jury room,

               8    you must select a foreperson.          The foreperson will preside over

               9    your discussions and speak for you here in court.

              10                 Second, it is your duty as jurors to discuss this

              11    case with one another in the jury and try to reach an

              12    agreement.

              13                 Each of you must make your own conscientious

              14    decision, but only after you've considered all the evidence,

              15    discussed it fully with the other jurors, and listened to the

              16    views of the other jurors.

              17                 Do not be afraid to change your opinions if you -- if

              18    the discussion persuades you that you should, but do not make a

              19    decision simply because other jurors think it is right or

              20    simply to reach a verdict.         Remember at all times that you are

              21    judges of the facts, and your sole interest is to seek the

              22    truth from the evidence in the case.

              23                 Third, if you need to communicate with me during your

              24    deliberations, you may send a note to me through Joe signed by

              25    one or more of the jurors.         I will respond as soon as possible




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